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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON TALCUM                          Civ. Action No. 3:16-md-02738 (FLW)
 POWDER PRODUCTS MARKETING,                              (LHG)
 SALES PRACTICES, AND PRODUCTS
 LIABILITY LITIGATION                                    MDL No. 2738


 THIS DOCUMENT RELATES TO ALL
 CASES



          DECLARATION OF P. LEIGH O’DELL IN SUPPORT OF THE
       PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF LAW
 IN RESPONSE AND OPPOSITION TO DEFENDANTS JOHNSON & JOHNSON AND
     JOHNSON & JOHNSON CONSUMER INC.’S NOTICE OF BANKRUPTCY
                   FILING AND STAY OF PROCEEDINGS

            I, P. Leigh O’Dell, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true

to the best of my knowledge, information and belief:

            1.     I am a Principal at the law firm of Beasley, Allen, Crow, Methvin, Portis & Miles,

P.C., and serve as Co-Lead counsel of the Plaintiffs’ Steering Committee in the In re: Johnson &

Johnson Talcum Powder Products Marketing, Sales Practices and Products Liability Multi-

District Litigation (MDL No. 2738) before the United States District Court for the District of New

Jersey. Unless otherwise stated in this Declaration, I have personal knowledge of the facts set

forth herein.

            2.     I submit this declaration in support of the Plaintiffs’ Steering Committee’s

Memorandum of Law in Response and Opposition to Defendants Johnson & Johnson and Johnson

& Johnson Consumer Inc.’s Notice of Bankruptcy Filing and Stay of Proceedings, filed

concurrently herewith.




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            3.   On October 14, 2021 LTL Management LLC commenced a bankruptcy case (the

“Bankruptcy Case”) by filing a voluntary petition for relief under chapter 11 of title 11 of the

United States Code.

            4.   Attached hereto as Exhibit A is a true and correct copy of the Declaration of John

K. Kim in Support of First Day Pleadings filed on October 14, 2021 and appearing at Dkt. No. 5

in the Bankruptcy Case (the “First Day Declaration”).

            5.   Attached hereto as Exhibit B is a true and correct copy of the Voluntary Petition

for Non-Individuals Filing for Bankruptcy filed on October 14, 2021 and appearing at Dkt. No. 1

in the Bankruptcy Case (the “Bankruptcy Petition”).

            6.   Attached hereto as Exhibit C is a true and correct copy of the Debtor’s Emergency

Motion to Enforce the Automatic Stay Against Talc Claimants Who Seek to Pursue Their Claims

Against the Debtor and Non-Debtor Affiliates filed on October 18, 2021 and appearing at Dkt. No.

44 in the Bankruptcy Case (the “Emergency Stay Motion”).

Executed this 20th day of October, 2021, Montgomery, Alabama.


                                                      /s/ P. Leigh O’Dell
                                                      P. Leigh O’Dell




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